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                         UNITED STATES DISTRICT
                        COURT FOR THE DISTRICT OF
                               COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
       v.                                    : CRIMINAL NO. 21-mj-339
                                             :
CHRISTOPHER HAM,                             :
     Defendant.                              :


              CONSENT MOTION TO CONTINUE PRELIMINARY HEARING

       The United States of America, by and through its attorney, the United States Attorney

for the District of Columbia, respectfully files this Consent Motion to Continue the Preliminary

Hearing in the above-captioned matter, currently scheduled for May 20, 2021, until June 28,

2021. In support thereof, the government states as follows:

  1. On April 6, 2021, the defendant was arrested and charged by Criminal Complaint with

      Travel with Intent to Engage in Illicit Sexual Conduct, in violation of 18 U.S.C. §

      2423(b) and other related charges. Following a hearing on that date, this Court ordered

      that the defendant be detained pending trial. A preliminary hearing was set for April

      20, 2021.

  2. On March 5, 2021, the Court issued a Standing Order, which allows for the limited

      resumption of jury trials. However, the Chief Judge has ordered that for all trials that

      cannot be tried with consistently with the health and safety protocols laid out

      in the Order, the time period between March 17, 2021 and August 31, 2021 is excluded

      under the Speedy Trial Act. In re: Limited Resumption of Criminal Jury Trials in Light

      of Current Circumstances Relating to the Covid-19 Pandemic, Standing Order 21-

      10(BAH) (March 5, 2021).
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3. On April 20, 2021, following a Consent Motion to Continue filed by the parties, this

   Court continued the Preliminary Hearing from April 20, 2021 until May 20, 2021. The

   Court ordered that that consistent with Standing Order No. 21-10, and the reasons stated

   in the Consent Motion filed by the parties, the interests and ends of justice were best served

   and outweighed the interests of the public and the defendant in a speedy trial. Pursuant to

   18 U.S.C. § 3161, the time from April 20, 2021 until May 20, 2021 was excluded in

   computing the date for speedy trial in this case.

4. The government and counsel for the defendant have conferred, and are continuing to

     communicate in an effort to resolve this matter without the necessity of a trial. The

     government has also produced the first round of discovery, which defense counsel

     needs time to review with his client.

5. The parties, therefore, would respectfully request that the Preliminary Hearing be

   continued until June 28, 2021. Consistent with the reasons stated in Standing Order No.

   21-10, as well as those detailed above, the parties agree that the interests and ends of

   justice are best served and outweigh the interests of the public and the defendant in a

   speedy trial, and that this adjournment will allow the parties to continue negotiations in

   an effort to achieve a resolution before trial. Therefore, the parties agree that pursuant

   to 18 U.S.C. § 3161, the time from May 20, 2021 through the next court date shall be

   excluded in computing the date for speedy trial in this case.




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       Wherefore, the parties respectfully request that the Court continue the Preliminary

Hearing in this matter until June 28, 2021, or to a date after that date convenient to the Court’s

calendar.

                                    Respectfully submitted,

                                    CHANNING D. PHILLIPS
                                    ACTING UNITED STATES ATTORNEY
                                    D.C. Bar No. 415793




                             By:       /s/
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                     :
                                              :
         v.                                   : CRIMINAL NO. 21-mj-339
                                              :
 CHRISTOPHER HAM,                             :
          Defendant.                          :



                                            ORDER

        This matter having come before the Court pursuant to a Motion to Continue, upon

consent, it is therefore

        ORDERED that the parties shall appear for a Preliminary Hearing at_______ on June__,

2021. It is further

        ORDERED that consistent with Standing Order No. 21-10, and the reasons stated in the

Consent Motion filed by the parties, the interests and ends of justice are best served and outweigh

the interests of the public and the defendant in a speedy trial. Pursuant to 18 U.S.C. § 3161, the

time from May 20, 2021 until June __, 2021 shall be excluded in computing the date for speedy

trial in this case.




                                              ______________________________________
                                              The Honorable Judge Robin M. Meriweather




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